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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

 RITA KUNZ and                   )
 HERMAN KUNZ,                    )
                                 )
            Plaintiffs,          )
                                 )
     vs.                         )                 No. 3:14-cv-00164-RLY-MPB
                                 )
 ROGER S. SHINNERL, M.D. and     )
 EVANSVILLE SURGICAL ASSOCIATES, )
                                 )
            Defendants.          )


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiffs, Rita Kunz and Herman Kunz, by counsel, and Defendants, Roger S. Shinnerl,

 M.D., and Evansville Surgical Associates, by counsel, hereby notify the Court that this matter

 has been resolved between said parties and stipulate to the dismissal of this action, with

 prejudice, costs paid, as to Defendants.



                                            Respectfully submitted,

                                            WILSON KEHOE WININGHAM, LLC


                                            By: /s/ D. Bruce Kehoe
                                            D. Bruce Kehoe, Esq., #5410-49
                                            Attorney for Rita and Herman Kunz


                                            Wooden & McLaughlin, LLP

                                            By: /s/Michele S. Bryant
                                            Michele S. Bryant, IN #14533-55
                                            Attorney for Roger S. Shinnerl, MD and Evansville
                                            Surgical Associates
